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     7
     8                          UNITED STATES DISTRICT COURT

     9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

    10
    11   ALAN BAKER, LINDA B. OLIVER,                    · Case No. 2:19-cv-08024-ODW-JC

    12                 Plaintiffs,                       DECLARATION OF
                                                         CHRISTOPHER J. HOOK IN
    13          v.                                       SUPPORT OF RESPONSE TO
                                                         ALLSTATE INSURANCE
    14   ALLSTATE INSURANCE                              COMPANY'S REQUEST FOR
         COMPANY, EDWARD CARRASCO,                       IMPOSITION OF SANCTIONS
    15   and DOES 1 through 10, inclusive,
                                                         Judge:        Hon. Hon. Otis D. Wright II
    16                 Defendants.                       Crtrm.:       5D

    17                                                   Trial Date:   None set


    18          I, Christopher G. Hook, hereby declare:
    19          1.     I am an attorney at law duly licensed to practice before all the courts of
   20 the State of California and the United State District Court for the Central District of
   21    California.
   22           2.     I have personal knowledge of the following facts and, if called upon as
   23    a witness, could competently testify thereto, except as to those matters which are
   24    explicitly set forth as based upon my information and belief and, as to such matters,
   25    I am informed and believe that they are true and correct.
   26           3.     I have been admitted to practice law since 2008 and have no previous
   27 record for discipline.
   28 / / /

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              DECLARATION OF CHRISTOPHER J. HOOK REGARDING RESPONSE TO SANCTIONS REQUEST
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     1         4.     I have been dealing with the recent loss of a close family member. As a
     2 result of that, I still have some emotions that have been raw, and I have sought
     3   assistance in dealing with them.
     4         5.     In this litigation, my interactions with Allstate's counsel were unlike
     5 those that I had previously had with the same law firm in other matters. I became
     6 frustrated and reacted in a way that I have since apologized for. Allstate's counsel
     7 neither met and conferred with me regarding the language I used or attempted to
     8 resolve any disputes that arose out of my language before seeking court
     9 intervention. Had Allstate done so, I would have immediately addressed the issue, as
    10 evidenced by my conduct, which has not involved any foul language, following my
    11 receipt of notice of the ex parte application, my first notice that Allstate viewed my
    12 language as a problem.
    13         6.    Notwithstanding the emails that I sent as part of private settlement
    14 negotiations, my conduct in deposing witnesses in this matter, in pleadings and law
    15 and motion, and other communications has been free of any foul language or other
    16 uncivil conduct.
    17         7.     I have previously apologized to the Court and to Allstate's counsel for
    18 my conduct and do so again.
    19         I declare under penalty of perjury under the laws of the United States that the
   20 foregoing is true and correct and that this declaration is executed in Los Angeles,
   21 California on this 14th day of January 2020.
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            DECLARATION OF CHRISTOPHER J. HOOK REGARDING RESPONSE TO SANCTIONS REQUEST
